Case 2:19-cv-00105-MHT-JTA Document 96 Filed 08/13/21 Page 1 of 3
                                skicr CotAckroi-
                                     kbroit



                                              t,UG 13 AUO
                                                uV,-,,~~".0VVa~CI:.~`®                  7,77
                                              '1-11S-cp      coUip
                                                             eT
                        ,v•J
                     .42"4144 N3-3

                                                          utist-c)


          ccy,gv:der /1-e-                    pq_ .r-ki,r                Goo.a e-4-te
0-49,Ar      A./ Acce. p c.ij                  -17A1- G41-e"dra-v-s
                                      aite9 ce 1
   101cotA                                                                ckeritvev7
              c1/4_ (Nit,w-63                tvicklar ctr kis poLioi
(CQ-56;%_lo-io Irkzeditii             rec,.41;ccuff-iri Ak-t- ba-ss3
      r       5ci`nd 0.6             Lv's posote -e-t difrefiar-
  COGuter cyc,../0-- 06 CA&              c3L4)142..4.0
          e"Avatt's o4a:s ti6L.             14e.c6,4.44..t
        (‘-ca(rsiej             ce"4 c,1‘441 (AAJ`         ((e__S

       So/IAN) (-\ cq‘le) ,,ve-,.1.-      cex            ckice".cA 0k-4-3
     6e_5()            9s6.51-41- peNcok UiLiso                                   Fk_ki
   - t         j          7(le/t ci c_
Case 2:19-cv-00105-MHT-JTA Document 96 Filed 08/13/21 Page 2 of 3




                  -ic'771±N-Ac?)         ),,,K1)vs
                         4-111,4
              Case 2:19-cv-00105-MHT-JTA Document 96 Filed 08/13/21 Page 3 of 3




    _A
    ' il, -02_469ey
                                                                      FI:r1=.71_= AL --z‘=.6
  m-se)a4                                                        10 AUG 2021 PM 2 L
1 1-4.d
-      n
   41 17,
        11 /Di f•-I
ueyce     365O3
                                                                   0rs,e_ oc t-e,c,
                                                                                    desc
                             f271.frArt:1f777,1     l',Iotarna   culf,f-a s+edxj oUy
                                                   c.P-Late,d                       /flu-      COE,dot
                                       50. t'.3C,1
      Stz.t             Ocpan:y,it      i.,T,i-cct.dris is not     otstik aquitsc.1^ 5kced-
                                                       the
      and the, Nabailz      dObstance or C.Griterit ot
       responsible for tile                                       "OnioN
                                                                       ' tr
                OmmunIcattma                                              i 4-1
          enclosed                                                                        36(09-04?'
